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                                                                      ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 1/8/21
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GARY TATINTSIAN, on his own behalf and for the                    :
benefit of Shoplink, Inc.                                         :
                                                                  :
                                                    Plaintiff, :         1:16-cv-7203-GHW
                                                                  :
                              -against-                           :      1:16-cv-8029-GHW
                                                                  :
MIKHAIL VOROTYNTSEV, and ELENA                                    :         ORDER
VOROTYNTSEV,                                                      :
                                                                  :
                                                 Defendants. :
                                                                  :
           and,                                                   :
                                                                  :
  SHOPLINK, Inc.                                                  :
                                                                  :
                                      Nominal Defendant. :
                                                                  :
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DIMITRY KHMALADZE, and ITADAPTER                                  :
CORPORATION, INC.,                                                :
                                                                  :
                                                    Plaintiffs, :
                                                                  :
                              -against-                           :
                                                                  :
MIKHAIL VOROTYNTSEV, AUM CODE LLC, :
IT ADAPTER, LLC, and, SHOPLINK, INC.                              :
                                                                  :
                                                 Defendants. :
                                                                  :
------------------------------------------------------------------X

GREGORY H. WOODS, District Judge:

         On January 8, 2021, the Court held a conference regarding the request for an extension of

the fact discovery deadline filed by Mr. Davis. Case No. 1:16-cv-7203-GHW, Dkt. Nos. 298; see also

Case No. 1:16-cv-8029-GHW, Dkt. No. 182. For the reasons stated on the record, that motion is

DENIED.
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       As discussed during the conference, the Court expects Mr. Seibert and Mr. Braunstein to file

any renewed motion to withdraw as counsel by January 13, 2021. Mr. Davis’ motion to withdraw as

counsel for Mr. and Mrs. Vorotyntsev is due no later January 18, 2021.

       The post-discovery status conference scheduled for January 18, 2021 is adjourned to

February 10, 2021. The deadline for the parties to submit the joint letter described in the case

management plan and scheduling order entered on July 15, 2020 and to file pre-motion letters in

connection with any motion for summary judgment is February 1, 2021.

       SO ORDERED.


 Dated: January 8, 2021                             _____________________________________
                                                             GREGORY H. WOODS
                                                            United States District Judge




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